CaSe 2:04-cr-20397-SH|\/| Document 52 Filed 08/26/05 Page 1 of 2 Page|D 77

 

IN rI‘HE UNITED STA'I‘ES DISTRICT COUR'I‘ gm B¥,_,. --...._..D.B
FOR THE WESTERN DISTRICT OF TENNESSEE"
WESTERN DIVISION 05 me 26 AH 6: h:.
“MXWUD
UNITED STATES OF AMERICA, CLERK'US DiSt-R§()'[M
WlDOFTN.MEMFt-ES
VS. NO. 04-20397-Ma

FREDDIE FORD,

Defendant.

 

ORDER CONDITIONALLY WAIVING APPEARANCE AT REPORT DATE

 

On August 24, 2005, counsel for defendant Freddie Ford,
filed a motion to waive the appearance of the defendant at the
report date scheduled on August 26, 2005. For good cause shown,
the motion is granted and the appearance of the defendant is
waived on the condition that counsel file with the court a
written waiver signed by the defendant. Upon its receipt,
counsel shall immediately file the required written waiver:

§

day of August, 2005.

y(/M,\

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

It is so ORDERED this

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 2:04-CR-20397 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Marty B. McAfee
MCAFEE & MCAFEE
246 Adams Ave.
1\/1emphis7 TN 38103

Joseph C Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Carlos Perez Olivo

LAW OFFICE OF CARLOS PEREZ OLIVO
80-02 KeW Gardens Road

Ste. 1040

KeW Gardens, NY 11415

Honorable Samuel Mays
US DISTRICT COURT

